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AO 24S8 (Rev. 09/19)   Judgment in a Criminal Case                                                                        FILED
                       sheet 1                                                                                    &1 sa:¼l;,0.if!§fJ.'7,qll11;,o •a


                                          UNITED STATES DISTRICT COURT                                                    AUG 0_5 2022
                                                           Eastern District of Arkansas                           !AMMV H, D~~RK
               UNITED STATES OF AMERICA                                    >
                                                                           )        JUDGMENT 1N PcmM1NAL cAsE.J>l!PCLERK
                                  V.                                       )
                       KESHAWN BOYKINS                                     )
                                                                           )        Case Number: 4:19-cr-00212-JM-1
                        a/k/a Turbo Hefner
                                                                           )        USM Number: 32685-009
                                                                           )
                                                                           )         Mark A. Jesse
                                                                           )        Defendant's Attorney
THE DEFENDANT:
D pleaded guilty to count(s)
D pleaded nolo contendere to count(s)
   which was accepted by the court.
lt1" was found guilty on count(s)         1sss, 2sss, 3sss, and 4sss of Third Superseding Indictment
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                             Offense Ended             Count
18 U.S.C. § 1591{a)               Sex trafficking of a minor, a Class A felony                                  11/19/2018                 1sss

  and {b){1)



       The defendant is sentenced as provided in pages 2 through                9          of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D The defendant has been found not guilty on count(s)
Iii Count(s)      1-2; 1s-3s; and 1ss-5ss                D   is    Iii are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any chan_ge of name, residence,
or mailing address until all fines, restitution, costs, and special assessments ill)posed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material clianges in economic circumstances.

                                                                           8/5/2022



                                                                                                           .,

                                                                           JAMES M. MOODY JR., U.S. DISTRICT JUDGE
                                                                          Name and Title of Judge


                                                                          ~/s J~-z
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AO 2458 (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet IA
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                                                                                                                        --
DEFENDANT: KESHAWN BOYKINS a/k/a Turbo Hefner
CASE NUMBER: 4:19-cr-00212-JM-1

                                           ADDITIONAL COUNTS OF CONVICTION

Title & Section                  Nature of Offense                                      Offense Ended           Count
18 U.S.C. § 2252(a)(2)            Distribution of child pornography, a Class C felony    11/19/2018             2sss

  and (b)(1)

18 U.S.C. § 1591(a)               Sex trafficking, a Class A felony                      11/19/2018             3sss

  and (b)(1)

18 U.S.C. § 2251(a)               Production of child pornography, a Class B felony      11/19/2018             4sss

  and (e)
                           Case 4:19-cr-00212-JM Document 99 Filed 08/05/22 Page 3 of 9
AO 245B (Rev. 09/19) Judgment in Criminal Case
                      Sheet 2 - Imprisonment

                                                                                                  Judgment - Page   --=3- of   9
 DEFENDANT: KESHAWN BOYKINS a/k/a Turbo Hefner
 CASE NUMBER: 4:19-cr-00212-JM-1

                                                            IMPRISONMENT

           The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a
 total term of:

 180 MONTHS on Count 1sss, 60 MONTHS on Count 2sss, and 180 MONTHS on Count 4sss, all to run concurrently; and
 180 MONTHS on Count 3sss to run consecutively to the sentences imposed on Counts 1sss, 2sss, and 4sss, for a TOTAL
 SENTENCE of 360 MONTHS


      ~ The court makes the following recommendations to the Bureau of Prisons:
        The Court recommends the defendant participate in residential substance abuse treatment, mental health treatment,
        and educational and vocational programs during incarceration. The Court further recommends designation to FCI
         Forrest City to allow the defendant to remain near his family.



      !ill   The defendant is remanded to the custody of the United States Marshal.

      D The defendant shall surrender to the United States Marshal for this district:
             D at - - - - - - - - - D a.m.                     D p.m.      on

             D as notified by the United States Marshal.

      D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
             D before 2 p.m. on
             D as notified by the United States Marshal.
             D as notified by the Probation or Pretrial Services Office.


                                                                  RETURN
 I have executed this judgment as follows:




             Defendant delivered on                                                     to

 at _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.



                                                                                                UNITED STATES MARSHAL



                                                                           By---------------------
                                                                                             DEPUTY UNITED STATES MARSHAL
                          Case 4:19-cr-00212-JM Document 99 Filed 08/05/22 Page 4 of 9
AO 24S8 (Rev. 09/19) Judgment in a Criminal Case
                     Sheet 3 - Supervised Release
                                                                                                        Judgment-Page     4      of - -9- -
DEFENDANT: KESHAWN BOYKINS a/k/a Turbo Hefner
CASE NUMBER: 4:19-cr-00212-JM-1
                                                     SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a tenn of:
 TEN (10) YEARS on all counts to run concurrently




                                                    MANDATORY CONDITIONS
1.    You must not commit another federal, state or local crime.
2.    You must not unlawfully possess a controlled substance.
3.    You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
      imprisonment and at least two periodic drug tests thereafter, as determined by the court.
                D The above drug testing condition is suspended, based on the court's determination that you
                    pose a low risk of future substance abuse. (check ifapplicable)
4.     D You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
            restitution. (check if applicable)
5.     Iii' You must cooperate in the collection of DNA as directed by the probation officer. (check ifapplicable)
6.     D You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.) as
            directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
            reside, work, are a student, or were convicted of a qualifying offense. (check ifapplicable)
7.     D You must participate in an approved program for domestic violence. (check ifapplicable)
You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
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AO 2458 (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 3A- Supervised Release
                                                                                               Judgment-Page        5
                                                                                                               ----- 0        r - - - - - ' c . .9. . __ _
DEFENDANT: KESHAWN BOYKINS a/k/a Turbo Hefner
CASE NUMBER: 4:19-cr-00212-JM-1

                                      STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1.    You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
      release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
      frame.
2.    After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
      when you must report to the probation officer, and you must report to the probation officer as instructed.
3.    You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
      court or the probation officer.
4.    You must answer truthfully the questions asked by your probation officer.
5.    You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
      arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
      the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
      hours of becoming aware of a change or expected change.
6.    You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
      take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.    You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
      doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
      you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
      responsibilities), you must notify the probation officer at least 10 days before the change. Ifnotifying the probation officer at least 10
      days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
      becoming aware of a change or expected change.
8.    You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
      convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
      probation officer.
9.    If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10.   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
      designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
11.   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
      first getting the permission of the court.
12.   If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
      require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
      person and confirm that you have notified the person about the risk.
13.   You must follow the instructions of the probation officer related to the conditions of supervision.



U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview ofProbation and Supervised
Release Conditions, available at: www.uscourts.gov.


Defendant's Signature                                                                                   Date
                                                                                                               ------------
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AO 24S8 (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 38 - Supervised Release
                                                                                                Judgment-Page     6     of       9
DEFENDANT: KESHAWN BOYKINS a/k/a Turbo Hefner
CASE NUMBER: 4:19-cr-00212-JM-1

                                     ADDITIONAL SUPERVISED RELEASE TERMS
 14) The defendant must participate in sex offender treatment under the guidance and supervision of the probation office
 and follow the rules and regulations of that program, including submitting to periodic polygraph testing to aid in the
 treatment and supervision process. The defendant must pay for the cost of treatment, including polygraph sessions, at the
 rate of $10 per session, with the total cost not to exceed $40 per month, based on ability to pay. If the defendant is
 financially unable to pay for the cost of treatment, the co-pay requirement will be waived.

 15) The defendant must not view or possess any "visual depiction" (as defined in 18 U.S.C. § 2256) including any
 photograph, film, video, picture, or computer or computer-generated image or picture, whether made or produced by
 electronic, mechanical, or other means, of "sexually explicit conduct" (as defined in 18 U.S.C. § 2256), or any other
 material that would compromise the defendant's sex offense-specific treatment if the defendant is so notified by the
 probation officer.

 16) The defendant must not possess and/or use computers (as defined in 18 U.S.C. § 1030(e)(1)) or other electronic
 communications or data storage devices or media without first obtaining permission from the probation officer.

 17) The defendant must not access the internet except for reasons approved in advance by the probation officer.

 18) The defendant must allow the probation officer to install computer monitoring software on any computer (as defined in
 18 U.S.C. § 1030(e)(1) that he uses.

 19) To ensure compliance with the computer monitoring condition, the defendant must allow the probation officer to
 conduct initial and periodic unannounced searches of any computers (as defined in 18 U.S.C. § 1030(e)(1)) subject to
 computer monitoring. These searches will be conducted to determine whether the computer contains any prohibited data
 prior to installation of the monitoring software, whether the monitoring software is functioning effectively after its installation,
 and whether there have been attempts to circumvent the monitoring software after its installation. The defendant must
 warn any other people who use these computers that the computers may be subject to searches pursuant to this condition.

 20) The defendant must not utilize or maintain any memberships or accounts of any social networking website or websites
 that allow minor children membership, a profile, an account, or webpage without approval of the probation office. This
 includes websites that explicitly prohibit access or use by sex offenders.

 21) The defendant must submit his person, property, house, residence, vehicle, papers, computers (as defined in 18
 U.S.C. § 1030(e)(1)), other electronic communications or data storage devices or media, or office, to a search conducted
 by a United States probation officer. Failure to submit to a search may be grounds for revocation of release. The
 defendant must warn any other occupants that the premises may be subject to searches pursuant to this condition.

 The probation officer may conduct a search under this condition only when reasonable suspicion exists that the defendant
 has violated a condition of supervision and that the areas to be searched contain evidence of this violation. Any search
 must be conducted at a reasonable time and in a reasonable manner.

 22) The probation office will provide state officials with all information required under any sexual predator and sexual
 offender notification and registration statutes and may direct the defendant to report to these agencies personally for
 required additional processing, such as an interview and assessment, photographing, fingerprinting, polygraph testing, and
 DNA collection.
AO 2458 (Rev. 09/19)
                          Case 4:19-cr-00212-JM Document 99 Filed 08/05/22 Page 7 of 9
                       Judgment in a Criminal Case
                       Sheet 3C - Supervised Release
                                                                                             Judgment-Page    7     of
DEFENDANT: KESHAWN BOYKINS a/k/a Turbo Hefner
CASE NUMBER: 4:19-cr-00212-JM-1

                           ADDITIONAL STANDARD CONDITIONS OF SUPERVISION
 23) The defendant must not have direct contact with any child he knows or reasonably should know to be under the age of
 18 without the permission of the probation officer. If the defendant does have any direct contact with any child he knows or
 reasonably should know to be under the age of 18 without the permission of the probation officer, he must report this
 contact to the probation officer within 24 hours. Direct contact includes written communication, in-person communication,
 or physical contact. Direct contact does not include incidental contact during ordinary daily activities in public places.

 24) The defendant must not go to, or remain at, any place where he knows children under the age of 18 are likely to be,
 including parks, schools, playgrounds, and childcare facilities.

 25) The defendant must participate in a substance abuse treatment program under the guidance and supervision of the
 probation office. The program may include drug and alcohol testing, outpatient counseling, and residential treatment. The
 defendant must abstain from the use of alcohol during treatment. The defendant must pay for the cost of treatment at the
 rate of $1 O per session, with the total cost not to exceed $40 per month, based on ability to pay. If the defendant is
 financially unable to pay for the cost of treatment, the co-pay requirement will be waived.

 26) The defendant must participate in a mental health treatment program under the guidance and supervision of the
 probation office. The defendant must pay for the cost of treatment at the rate of $1 O per session, with the total cost not to
 exceed $40 per month, based on ability to pay. If the defendant is financially unable to pay for the cost of treatment, the
 co-pay requirement will be waived.
                          Case 4:19-cr-00212-JM Document 99 Filed 08/05/22 Page 8 of 9
AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet S - Criminal Monetary Penalties
                                                                                                          Judgment- Page   -~8-     of        9
DEFENDANT: KESHAWN BOYKINS a/k/a Turbo Hefner
CASE NUMBER: 4:19-cr-00212-JM-1
                                               CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                    Assessment               Restitution                  Fine                    AVAA Assessment*           JVTA Assessment**
TOTALS            S 400.00                  S 0.00                      S 0.00                  S 0.00                     S 0.00


 D   The determination of restitution is deferred until
                                                        ----
                                                            . An Amended Judgment in a Criminal Case (AO 245C) will be
     entered after such determination.

 D   The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned pa~ent, unless s~cified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664{1), all nonfederal victims must be paid
     before the United States is paid.

Name of Payee                                                   Total Loss***                   Restitution Ordered        Priority or Percentage




 TOTALS


 D     Restitution amount ordered pursuant to plea agreement $
                                                                           ---------
 D     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
       fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(t). All of the payment options on Sheet 6 may be subject
       to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 D     The court determined that the defendant does not have the ability to pay interest and it is ordered that:

       D   the interest requirement is waived for the           D   fine    D    restitution.

       D   the interest requirement for the         D    fine       D   restitution is modified as follows:

• Amy, VickyVand Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
•• Justice for ictims of Trafficking Act of2015, Pub. L. No. 114-22.
••• Findings for the total amount oflosses are required under Chapters 109A, 1 10, 11 OA, and 113A of Title 18 for offenses committed on
or after September 13, 1994, but before April 23, 1996.
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                       Judgment in a Criminal Case
                       Sheet 6 - Schedule of Payments

                                                                                                         Judgment- Page   -~9-    of        9
DEFENDANT: KESHAWN BOYKINS a/k/a Turbo Hefner
CASE NUMBER: 4:19-cr-00212-JM-1

                                                        SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

A     ll1   Lump sum payment of$          400.00              due immediately, balance due

            □     not later than                                  , or
            □     in accordance with □ C,
                                                    □    D,
                                                              □    E, or     D F below; or
B     □ Payment to begin immediately (may be combined with                 □ c,     □ D,or      D F below); or

C     D     Payment in equal       _ _ _ _ _ (e.g.• weekly. monthly, quarterly) installments of $ ____ over a period of
                           (e.g., months or years), to commence _ _ _ _ _ (e.g.• 30 or 60 days) after the date of this judgment; or

D     D     Payment in equal       _ _ _ _ _ (e.g., weekly. monthly, quarterly) installments of $ _ _ _ over a period of
                           (e.g., months or years), to commence _ _ _ _ _ (e.g.• 30 or 60 days) after release from imprisonment to a
            term of supervision; or

E     D     Payment during the term of supervised release will commence within _ _ _ _ _ (e.g.• 30 or 60 days) after release from
            imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F     D     Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment ofcriminal mone!aI)' penalties is due during
the period of imprisonment. All criminal mone~ penafties, except those payments made through the Federal Bureau of Prisons' Inmate
Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




D     Joint and Several

      Case Number
      Defendant and Co-Defendant Names                                               Joint and Several               Corresponding Payee,
      (including defendant number)                        Total Amount                    Amount                         if appropriate




D     The defendant shall pay the cost of prosecution.

D     The defendant shall pay the following court cost(s):

D     The defendant shall forfeit the defendant's interest in the following property to the United States:




PaYl!lents shall be a_pplied in the following order: (1) assessment, (2) restitution princ9?al, (3} restitution interest, (4) AVAA assessment,
(5) fine principal, (6) fine interest, (7) community restitution, (8) .JVl'A assessment, ('J) penalties, and (10) costs, mcluding cost of
prosecution and court costs.
